Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 1 of 7




                    Exhibit 7
Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 2 of 7




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     Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 3 of 7




RIKER,DANZIG,SCHERER,HYLAND & PERRETTI LLP
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(973)538-0800                                                             JUN 1 2 2008
Attorneys for Plaintiffs                                              Judge Alexander P. Waugh,Jr.
Johnson & Johnson, DePuy Orthopaedics, Inc.
and DePuy Products, Inc.

                                                         SUPERIOR COURT OF NEW JERSEY
JOHNSON & JOHNSON,DEPUY SPINE,INC.                       CHANCERY DIVISION
and DEPUY,INC.,                                          MIDDLESEX COUNTY
                                                         DOCKET NO. MID-C-227-07

                                Plaintiffs,

                VS.                                                      CIVIL ACTION

STEVEN McALLISTER,BIOMET,INC., EBI                                    CONSENT DECREE
HOLDINGS,INC. and EBI, LP,

                                Defendants.

        The Plaintiffs, Johnson & Johnson, DePuy Spine, Inc.("DePuy Spine") and DePuy, Inc.

(jointly, "Plaintiffs"), and the Defendants, Steven McAllister ("Mr. McAllister"), Biomet, Inc.

("Biomet"), EBI Holdings, Inc. and EBI, LP (jointly, "Defendants"), having entered into a

Settlement and Release Agreement, desire to settle all matters in issue, and the Court, being duly

advised in the premises;   44
        IT IS on this it day                             2008,

        ORDERED,that his Decree shall be the final judgment with prejudice ofthe Court and is

a full resolution of all claims addressed herein; and it is further

        ORDERED that the Court has jurisdiction over the subject matter ofthis action and have

personal jurisdiction over the parties hereto; and it is further




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Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 4 of 7
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    Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 5 of 7




       ORDERED that Defendants are hereby enjoined and restrained as follows through

September 24, 2008:

       1.      Mr. McAllister shall not participate in any strategic planning or meetings,

including email exchanges, any type of document exchanges, telephone conferences, and in-

person meetings regarding Biomet, Inc.'s, E131, LP's and EBI Holdings, Inc.'s (collectively

"Biomet's") strategies or strategic planning. Strategies and strategic planning include the

following areas: (a) global foot print strategies with regard to where Biomet should open new

facilities, close facilities, or change already existing facilities;(b) how Biomet could change its

manufacturing process or the technology and equipment it uses to make its facilities more

efficient and/or less costly; (c) pricing strategies; (d) pipeline products or how Biomet can

change its current products; (e) negotiating contracts with strategic planners, suppliers and

distributors; (f) negotiating royalty or licensing agreements;(g) distribution strategies, meaning

Mr. McAllister shall not contact any distributors and/or shall not be involved in deciding,

advising or planning, including negotiating contracts, with regard to the methods and plans by

which Biomet distributes products to its sales representatives, third parties and/or customers and

the methods and plans by which Biomet's sales representatives and/or third parties distribute

products to clients: (h) marketing and sales plans and/or strategies; and (i) sales force plans

and/or strategies. With regard to subsections (h) and (i) only, Mr. McAllister is not prohibited

from compiling or assembling data he receives from other Biomet employees concerning the

areas identified in (h) and (i), but he shall not be involved in the decision making process or

provide advice concerning such areas.

       2.      Mr. McAllister shall not participate in communications regarding DePuy

Orthopaedics, Inc., DePuy Spine, Inc., DePuy Mitek, Inc. or Codman & Shurtleff, Inc.




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    Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 6 of 7




(collectively "DePuy"), including email exchanges, any type of document exchanges, telephone

conferences and in-person meetings.

       3.        Mr. McAllister shall not solicit any DePuy employees, or be involved in their

hiring in any respect:

       4.        Mr. McAllister shall nor use or disclose any of DePuy's Confidential Information,

as defined by the Employee Secrecy, Non-Competition and Non-Solicitation Agreement that he

executed with DePuy Spine,Inc., to Biomet or any other third parties.

       S.        This Consent Order shall be of no further force and effect after September 24,

2008, and thereafter DePuy shall have no further right or ability to enforce the terms, conditions

or obligations contained herein, or alleged to be contained in any actual or alleged employment

agreements, whether written, oral, implied or otherwise, between DePuy and McAllister; except,

however, the obligations of paragraphs 1(d) and 4 herein shall continue indefinitely after

September 24, 2008.

       ORDERED that after such restrictions have been raised Mr. McAllister will continue to

abide by his obligations to Plaintiffs in regard to maintaining the confidentiality of Plaintiffs'

confidential information and trade secrets; and it is further

       ORDERED that pursuant to the parties'joint stipulation and agreement herein, this Court

retains personal jurisdiction over the Defendants, and retains exclusive jurisdiction to resolve

disputes arising out of this Consent Decree and the Settlement and Release Agreement, including

but not limited to a motion for contempt of court alleging that the terms of the Consent Decree

have been violated; and it is further

       ORDERED that Plaintiffs' counsel will serve a "filed" copy of this Order on Defendants'

counsel within   7days     ofreceipt hereof.




                                                  3             Alexander P. Waugh,            J.Ch.


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     Case 1:17-cv-11008-MLW Document 53-8 Filed 10/16/17 Page 7 of 7




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